  Case 1:20-cv-00107-MN Document 16 Filed 01/06/22 Page 1 of 1 PageID #: 60




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE
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                                     )
UNITED STATES OF AMERICA             )
ex rel.                              )
CHRISTINE KIBLER,                    )
                                     )
            Plaintiffs,              )         Civil Action No. 20-107-MN
        v.                           )
                                     )
HUNT COMPANIES, INC.;                )
HUNT MILITARY COMMUNITIES            )
MGMT, LLC; HBC PROPERTY              )
MANAGERS, LLC; HUNT ELP, LTD.;       )
DOVER AIR FORCE BASE                 )
PROPERTIES, LLC; PINNACLE            )
PROPERTY MANAGEMENT                  )
SERVICES, LLC,                       )
                                     )
            Defendants.              )
____________________________________)


                                               ORDER

      The United States of America having intervened in this False Claims Act qui tam case, IT
IS HEREBY ORDERED this UI day of January 2022 that:

        1.All documents in the above-captioned case be unsealed except for the United States’ ex
parte applications and motions at D.I. 5, 7, 9, 11, and 13;

       2. The seal be lifted on all matters occurring in this case after this Order is entered; and

       3. The United States provide a copy of this Order to all parties.


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                                                                                          __________
                                                        The     Honorable
                                                           hhee Honnorable Maryellen Noreika
                                                        Unitedd States District Judge
